        Case 2:10-cv-00106-LRH-VCF Document 68 Filed 06/10/10 Page 1 of 3



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14
                                 UNITED STATES DISTRICT COURT
15
                                     DISTRICT OF NEVADA
16

17
     ORACLE USA, INC., a Colorado corporation;
18   ORACLE AMERICA, INC. a Delaware                 Case No. 2:10-cv-00106-LRH-PAL
     corporation; and ORACLE INTERNATIONAL
19   CORPORATION, a California corporation,          DECLARATION OF KIERAN P.
                                                     RINGGENBERG IN SUPPORT OF
20                Plaintiffs,                        PLAINTIFFS ORACLE USA, INC.,
           v.                                        ORACLE AMERICA, INC., AND
21                                                   ORACLE INTERNATIONAL
     RIMINI STREET, INC., a Nevada corporation;      CORPORATION’S MOTION TO
22   SETH RAVIN, an individual,                      DISMISS FIRST AMENDED
                                                     COUNTERCLAIM AND STRIKE
23                 Defendants.                       AFFIRMATIVE DEFENSE
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                                                                    Case No. 2:10-cv-00106-LRH-PAL
        DECLARATION OF K. RINGGENBERG ISO PLAINTIFFS’ MOTION TO DISMISS FIRST AMENDED
                      COUNTERCLAIM AND STRIKE AFFIRMATIVE DEFENSE
        Case 2:10-cv-00106-LRH-VCF Document 68 Filed 06/10/10 Page 2 of 3



 1          I, Kieran P. Ringgenberg, declare as follows:

 2          1.      I am an attorney admitted to practice law in the State of California and before the

 3    Court in this action pro hac vice. I am a partner with Boies, Schiller & Flexner LLP, counsel to

 4    plaintiffs in this action. Based on my review of the files and records in this action, I have

 5    firsthand knowledge of the contents of this declaration and could testify thereto.

 6          2.      Attached hereto as Exhibit A is a true and correct copy of an article obtained from

 7    Businessweek/IDG bearing the title “Rimini Street Files Countersuit Against Oracle,” dated

 8    March 29, 2010, and with the byline indicating it was authored by Chris Kanaracus.

 9          3.      Attached hereto as Exhibit B is a true and correct copy of an article obtained from

10    MarketWatch, bearing the title “Upstart Fires Back at Oracle in Legal Battle,” dated March 29,

11    2010, and with the byline indicating it was authored by John Letzing.

12

13          I declare under penalty of perjury that the foregoing is true and correct to the best of my

14    knowledge.

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     Dated: June 10, 2010                             __/s/ Kieran P. Ringgenberg___
16                                                         Kieran P. Ringgenberg
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                                                      1                         Case No. 2:10-cv-00106-LRH-PAL
         DECLARATION OF K. RINGGENBERG ISO PLAINTIFFS’ MOTION TO DISMISS FIRST AMENDED
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        Case 2:10-cv-00106-LRH-VCF Document 68 Filed 06/10/10 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 10th day of June, 2010, I electronically transmitted the

 3   foregoing DECLARATION OF KIERAN P. RINGGENBERG IN SUPPORT OF

 4   PLAINTIFFS ORACLE USA, INC., ORACLE AMERICA, INC., AND ORACLE

 5   INTERNATIONAL CORPORATION’S MOTION TO DISMISS FIRST AMENDED

 6   COUNTERCLAIM AND STRIKE AFFIRMATIVE DEFENSE to the Clerk’s Office using

 7   the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to all counsel in

 8   this matter; all counsel being registered to receive Electronic Filing.

 9

10                                                     /s/ Catherine Duong
                                                     An employee of Boies, Schiller & Flexner LLP
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                                                                                Case No. 2:10-cv-00106-LRH-PAL

                                             CERTIFICATE OF SERVICE
